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Case: 1:04-cv-04585 Document #: 1 Filed: 07/13/04 Page 2 of 30 PageID #:2
Case: 1:04-cv-04585 Document #: 1 Filed: 07/13/04 Page 3 of 30 PageID #:3
Case: 1:04-cv-04585 Document #: 1 Filed: 07/13/04 Page 4 of 30 PageID #:4
Case: 1:04-cv-04585 Document #: 1 Filed: 07/13/04 Page 5 of 30 PageID #:5
Case: 1:04-cv-04585 Document #: 1 Filed: 07/13/04 Page 6 of 30 PageID #:6
Case: 1:04-cv-04585 Document #: 1 Filed: 07/13/04 Page 7 of 30 PageID #:7
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Case: 1:04-cv-04585 Document #: 1 Filed: 07/13/04 Page 30 of 30 PageID #:30
